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                                    5October
                                         Bart15,
                                              K.2021
                                                 Larsen, Esq.
                                ___________________________________________________________________
                                                           Nevada Bar No. 8538
                                                       6   Kyle M. Wyant, Esq.
                                                           Nevada Bar No. 14652
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                                                           1731 Village Center Circle, Suite 150
                                                       8   Las Vegas, Nevada 89134
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                                                      11   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
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                                                      12
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                                                      13                             UNITED STATES BANKRUPTCY COURT
                        (702) 471-7432




                                                      14                                       DISTRICT OF NEVADA

                                                      15
                                                           In re:
                                                      16                                                              Case No. 21-14486-abl
                                                                    INFINITY CAPITAL MANAGEMENT,                      Chapter 7
                                                      17            INC.
                                                                                                                      Date: October 12, 2021
                                                      18                          Debtor.                             Time: 3:00 p.m.

                                                      19

                                                      20            ORDER GRANTING MOTION FOR RELIEF FROM AUTOMATIC STAY

                                                      21            The Motion for Relief from Automatic Stay (the “Motion”) [ECF No. 17] filed by HASelect-

                                                      22   Medical Receivables Litigation Finance Fund International SP (“HASelect”) came before the Court

                                                      23   for hearing on October 12, 2021. HASelect appeared through its counsel of record, Bart K. Larsen,

                                                      24   Esq. of the law firm of Shea Larsen. The Chapter 7 Trustee Robert E. Atkinson, Esq. appeared

                                                      25   personally and through his counsel of record, Clarisse L. Crisostomo, Esq. of the law firm of Atkinson

                                                      26   Law Associates Ltd. Debtor Infinity Capital Management, Inc. (“Debtor” or “Infinity”) appeared

                                                      27   through its counsel of record, Matthew C. Zirzow, Esq. of the law firm of Larson & Zirzow.

                                                      28   HealthPlus Imaging of Texas, LLC appeared through its counsel of record, David Mincin, Esq. of the


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                                                           law firm of Mincin Law, PLLC and Jacob M. Stephens, Esq. of the law firm of Irelan McDaniel,
                                                       2
                                                           PLLC. Tecumseh – Infinity Medical Receivables Fund, L.P. appeared through its counsel of record,
                                                       3
                                                           Michael D. Napoli, Esq. of the law firm of Akerman LLP.
                                                       4
                                                                  At the hearing, the Court heard argument and representations from counsel, deliberated
                                                       5
                                                           thereon, and then read its ruling into the record. All findings of fact and conclusions of law orally
                                                       6
                                                           stated by the Court at the hearing are incorporated herein pursuant to Fed. R. Civ. P. 52, as made
                                                       7
                                                           applicable to these proceedings via Fed. R. Bankr. P. 9014(c) and 7052. For the reasons stated on
                                                       8
                                                           the record by the Court at the hearing,
                                                       9
                                                                  IT IS HEREBY ORDERED:
                                                      10
                                                                  1.      The Motion is GRANTED;
                                                      11
                                                                  2.      The automatic stay imposed under section 362(a) of the Bankruptcy Code shall
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                                                      12
                                                           terminate, effective immediately upon the entry of this Order, as to the Collateral (as defined in the
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                                                           Motion) to permit HASelect to immediately take possession and control of the Collateral, wherever
                                                      14
                                                           it may be located, and to otherwise enforce its security interest and rights in the Collateral consistent
                                                      15
                                                           with its rights under the MLA and applicable law;
                                                      16
                                                                  3.      The termination of the automatic stay ordered and directed and the relief granted
                                                      17
                                                           herein shall specifically exclude the non-Collateral Confidential Information (as defined in Party in
                                                      18
                                                           Interest HealthPlus Imaging of Texas, LLC’s (“HealthPlus”) Limited Objection to Chapter 7 Trustee
                                                      19
                                                           and HASelect – Medical Receivables Litigation Finance Fund International SP’s Joint Motion to
                                                      20
                                                           Approve Abandonment of Collateral [ECF No. 77] (“Limited Objection”)) in Debtor’s possession
                                                      21
                                                           relating to receivables owned by HealthPlus (and as identified in Exhibits A-1 and A2 of HealthPlus’
                                                      22
                                                           Limited Objection);
                                                      23
                                                                  4.      The termination of the automatic stay ordered and directed and the relief granted
                                                      24
                                                           herein shall specifically exclude the Tecumseh Receivables as defined in Party in Interest Tecumseh
                                                      25
                                                           – Infinity Medical Receivable Fund, LP’s (“Tecumseh”) Objection to Joint Motion to Approve
                                                      26
                                                           Abandonment of Collateral [ECF No. 82] (“Tecumseh Objection”) and as identified in Exhibit A
                                                      27
                                                           and, to the extent marked as assigned to Tecumseh, Exhibit B to the Meyer Declaration [ECF No.
                                                      28


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                                                           59] as well as any records relating exclusively thereto or any proceeds thereof, and, to the extent that
                                                       2
                                                           there are records that relate both to the Collateral and to the Tecumseh Receivables, the Trustee will
                                                       3
                                                           retain a copy of such records pending further order of this Court;
                                                       4
                                                                  5.      HASelect shall not, without further court order, take possession or control of the
                                                       5
                                                           money in deposit accounts held in the name of the Debtor on the Petition Date (which is now in the
                                                       6
                                                           possession of the Trustee, and held in estate accounts);
                                                       7
                                                                  6.      Infinity and its officers, directors, and agents shall promptly deliver or make available
                                                       8
                                                           to HASelect any and all Collateral that remains in their possession or control, including all copies
                                                       9
                                                           of physical documents and electronically stored information constituting Collateral, as well as any
                                                      10
                                                           and all such Collateral that may come into their possession or control in the future;
                                                      11
                                                                  7.      Infinity and its officers, directors, and agents shall reasonably cooperate with
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                                                      12
                                                           HASelect in its efforts to locate and take possession or control of the Collateral and shall not impede
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                                                           or otherwise interfere in such efforts in any way;
                                                      14
                                                                  8.      Any person that is or may come into possession of any of the Collateral is hereby
                                                      15
                                                           authorized and directed to turnover such Collateral to HASelect;
                                                      16
                                                                  9.      Any person obligated as to payment of any account receivable included in the
                                                      17
                                                           Collateral is hereby authorized and directed to remit payment when due directly to HASelect or its
                                                      18
                                                           designee at such location as HASelect may designate;
                                                      19
                                                                  10.     HASelect is authorized and entitled to endorse any check made payable to Infinity
                                                      20
                                                           relating to any account receivable included within the Collateral;
                                                      21
                                                                  11.     The Bankruptcy Court shall retain jurisdiction to interpret and enforce the provisions
                                                      22
                                                           of this Order; and
                                                      23
                                                                  12.     This Order shall take effect immediately upon entry and shall not be stayed pursuant
                                                      24
                                                           to Bankruptcy Rules 4001(a)(3) or otherwise.
                                                      25
                                                                  IT IS SO ORDERED.
                                                      26

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                                                       2   Prepared and Submitted:

                                                       3
                                                           /s/ Bart K. Larsen, Esq.
                                                       4   BART K. LARSEN, ESQ.
                                                           Nevada Bar No. 8538
                                                       5   SHEA LARSEN
                                                           1731 Village Center Circle, Suite 150
                                                       6   Las Vegas, Nevada 89134

                                                       7   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
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                                                       1                                     LR 9021 CERTIFICATION

                                                       2          In accordance with LR 9021, counsel submitting this document certifies that the order
                                                           accurately reflects the court’s ruling and that (check one):
                                                       3
                                                                  ☐      The court has waived the requirement set forth in LR 9021(b)(1).
                                                       4
                                                                  ☐      No party appeared at the hearing or filed an objection to the motion.
                                                       5
                                                                  ☒      I have delivered a copy of this proposed order to all counsel who appeared at the
                                                       6                 hearing, and any unrepresented parties who appeared at the hearing, and each has
                                                                         approved or disapproved the order, or failed to respond, as indicated below [list
                                                       7                 each party and whether the party has approved, disapproved, or failed to respond to
                                                                         the document]:
                                                       8
                                                              Name                                         Approve             Reject          No Response
                                                       9
                                                              Robert E. Atkinson, Esq.                        ☒                  ☐                  ☐
                                                      10      Chapter 7 Trustee
                                                      11      Clarisse L. Crisostomo, Esq.                    ☒                  ☐                  ☐
                                                              Attorney for Chapter 7 Trustee
              1731 Village Center Circle, Suite 150




                                                      12
                                                              Matthew C. Zirzow, Esq.                         ☒                  ☐                  ☐
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13      Attorney for Debtor Infinity Capital
                        (702) 471-7432




                                                              Management, Inc.
                                                      14
                                                              Michael D. Napoli, Esq.                         ☒                  ☐                  ☐
                                                      15      Attorney for Tecumseh – Infinity
                                                              Medical Receivables Fund, L.P.
                                                      16
                                                              David Mincin, Esq.                              ☒                  ☐                  ☐
                                                      17      Jacob M. Stephens, Esq.
                                                              Attorneys for HealthPlus Imaging of
                                                      18      Texas, LLC
                                                      19          ☐      I certify that this is a case under chapter 7 or 13, that I have served a copy of this
                                                                         order with the motion pursuant to LR 9014(g), and that no party has objected to the
                                                      20                 form or content of the order.
                                                      21          I declare under penalty of perjury that the foregoing is true and correct.
                                                      22                                                /s/ Bart K. Larsen, Esq.
                                                                                                        Bart K. Larsen, Esq.
                                                      23

                                                      24
                                                                                                         # # #
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